                                         UNITED STATES DISTRICT COURT
                                      WESTERN DISTRICT OF NORTH CAROLINA
                                             CHARLOTTE DIVISION
                                        DOCKET NO: 3:14-CR-00229-MOC-DCK

               UNITED STATES OF AMERICA,              )
                                                      )
                           vs.                        )
                                                      )                          ORDER
               AHKEEM TAHJA MCDONALD,                 )
                                                      )
                                 Defendant.           )
               _______________________________________)

                         THIS MATTER comes before the Court on Defendant’s pro se letter requesting that he

               be housed alone, either at “ADX” or at the Thomson Correctional Center. See Doc. No. 929. But,

               by law, the Bureau of Prisons—not the Court—“shall designate the place of the prisoner’s

               imprisonment.” 18 U.S.C. § 3621. Thus, the Court cannot grant Defendant’s request.



                                                          ORDER

                         IT IS, THEREFORE, ORDERED that Defendant’s pro se request to be housed alone,

               Doc. No. 929, is DENIED.


Signed: August 3, 2020




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